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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor ape Ieaen the Hg and service of pleadings or other papers as required by law, except as
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JS 44 (Rev. 06/17)

provided by local rules of court. This form, approved by the Judicial Conference of th

Cc

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

ed States in September 1974, is required for the use of the Clerk of Court for the

I. (a) PLAINTIFFS

BANCREDITO INTERNATIONAL BANK CORPORATION

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S, PLAINTIFF CASES)

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(VICENTE & CUEBAS)

PO Box 11609, San Juan, PR 00910-1609

Phone (787) 751-8000

DEFENDANT

TELECOM CA.

NOTE:

Ss

County of Residence of First Listed Defendant

DATA HARDWARE SUPPLY, INC.; FRANCO D'AGOSTINO; DAYCO

(IN US, PLAINTIFF CASES ONLY)

Attorneys (if Known)

[IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

II. BASIS OF JURISDICTION (Place an "X" in One Box Only)

(For Diversity Cases Only)

Ifl. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff

and One Box for Defendant)

31 US. Government O 3 Federal Question PTF DEF PTF DEF
Plainutt (U.S, Government Not a Party) Citizen of This State m1 © 1 Incorporated or Principal Place o4 o4
of Business In This State
92 US. Government XxX! Diversity Citizen of Another State O 2 & 2 Incorporated and Principal Place o5 oO8
Defendant (Indicate Citizenship of Parties in [tem Il) of Business In Another State
Citizen or Subject of a O3 O 3 Foreign Nation OoO6 O86
Foreign Country
IV. NATURE OF SUIT (Place an “x ih One Bax Only) Click here for; Nature of Suit Code Descriptions.
{ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES: ]
O 110 Insurance PERSONAL INJURY PERSONAL INJURY = {0 625 Drug Related Seizure © 422 Appeal 28 USC 158 1 375 False Claims Act
© 120 Marine © 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a)})
140 Negotiable Instrument Liability O 367 Health Care! 1 400 State Reapportionment
O 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
1 151 Medicare Act 7 330 Federal Employers’ Product Liability 830 Patent © 450 Commerce
© 152 Recovery of Defaulted Liability © 368 Asbestos Personal 0 835 Patent - Abbreviated © 460 Deportation

Student Loans
(Excludes Veterans)
O 153 Recovery of Overpayment
of Veteran's Benefits
160 Stockholders’ Suits
(XK 190 Other Contract
1 198 Contract Product Liability
© 196 Franchise

O 340 Marine

345 Marine Product
Liability

4 350 Motor Vehicle

© 355 Motor Vehicle
Product Liability

1 360 Other Personal
Injury

Injury Product
Linbility

© 370 Other Fraud

© 371 Truth in Lending

© 380 Other Personal
Property Damage

385 Property Damage

PERSONAL PROPERTY

New Drug Application
© 840 Trademark

© 740 Railway Labor Act
© 751 Family and Medical
Leave Act

O 790 Other Labor Litigation

4 446 Amer. w/Disabilities -
Other

540 Mandamus & Other
550 Civil Rights

J 362 Personal Injury - Product Liability
Medical Malpractice
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS
(7 210 Land Condemnation 7) 440 Other Civil Rights Habeas Corpus:
© 220 Foreclosure 1 441 Voting O 463 Alien Detainee
O 230 Rent Lease & Ejectment 3 442 Employment 6 $10 Motions to Vacate
0 240 Torts to Land 3 443 Housing! Sentence
& 245 Ton Product Liability Accommodations © 530 General
(7 290 All Other Real Property 445 Amer. w/Disabilities -] 0 535 Death Penalty
Employment Other:
a
o
o

TT 448 Education 555 Prison Condition
0 $60 Civil Detainee -
Conditions of

Confinement

791 Employee Retirement
Income Security Act

LABOR SOCIAL SECURITY
© 710 Fair Labor Standards 861 HIA (1395ff
Act 3 862 Black Lung (923)
0 720 Labor/Management D0 863 DIWC/DIWW (405(g))
Relations 0 864 SSID Title XVI

O 865 RSI (405(g))

FEDERAL TAX SUITS

O 870 Taxes (U.S, Plaintiff
or Defendant)

O 871 IRS—Third Party
26 USC 7609

IMMIGRATION

( 465 Other Immigration
Actions

462 Naturalization Application

O 470 Racketeer Influenced and
Corrupt Organizations

1 480 Consumer Credit

3 490 Cable/Sat TY

O 850 Securities/Commodities!
Exchange

© 890 Other Statutory Actions

© 891 Agricultural Acts

© 893 Environmental Matters

O 895 Freedom of Information
Act

0 896 Arbitration

6 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

© 950 Constitutionality of
State Statutes

Vv. ORIGIN (Place an “X" in Qne Box Qniy)

{1 Original 2 Removed from O 3° Remanded from 4 Reinstated or © 5 Transferred from © 6 Multidistrict 0 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

Pursuant to 28 U.S.C. §1332

Cite the U.S. Civil Statute under which you are filing (De nor cite jurisdictional statutes tinless diversity):

Brief description of cause:

Breach of Contract; Execution of Collateral Guaranty; Execution of Peronal Guaranty

VII. REQUESTED IN
COMPLAINT:

CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

DEMAND §$

1,527, 302.25

CHECK YES only if demanded in complaint:

JURY DEMAND:

i Yes ONo

VIII. RELATED CASE(S)

(See instructions):

IF ANY JUDGE (\ | __ DOCKET NUMBER -
DATE SIGNAT OF
01/08/2018
FOR OFFICE USE ONLY — Pr =
RECEIPT # AMOUNT APPLYING IFP MAG. JUDGE

JUDGE
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JS 44 Reverse (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attomey of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)”.

i. Jurisdiction, The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Il. __ Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

V. Origin. Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.
Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.
Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII, Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
